                           JOHN S.PETERSON
                             ATTORNEY ATLAW




 February 19, 2015

 The Honorable Marc Barreca
 700 Stewart St., Suite 6301
 Seattle, WA 98101


 Re: Peterson v. Ingels, Adv. No. 14-01387

 Dear Judge Barreca:

 I am the plaintiff/trustee in this matter. With this letter, I am docketing a proposed revised
 trial order. I believe the revised dates comply with the instructions of your office and are
 agreed to with defendant/debtor’s counsel, Mr. McFarlane.

 Thank you for your help in this matter.


 Sincerely,




 John S. Peterson
 Attorney at Law




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Case 14-01387-CMA         Doc 21     Filed 02/19/15     Ent. 02/19/15 14:01:09        Pg. 1 of 1
